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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Anthony Michael Peaker,                           Case No. 20‐CV‐1195 (NEB/LIB)

                      Plaintiff,

 v.                                             ORDER ACCEPTING REPORT AND
                                                    RECOMMENDATION
 Stillwater Medical Group; Michael
 Adams, MD; Doctor Jensen (First Name
 Not Known); Mindy Liebel, RN; Casey,
 RN (Last Name Not Known); Lacey, RN
 (Last Name Not Known); Jordan, RN
 (Last Name Not Known); Washington
 County Sheriff’s Department; Sheriff Dan
 Starry; Commander Roger Hienen; and
 John – Jane Does 1–10 (whose names,
 official positions and addresses are not
 yet known),

                      Defendants.



       The Court has received the August 26, 2020, Report and Recommendation of

United States Magistrate Judge Leo I. Brisbois. (ECF No. 7.) No party has objected to that

Report and Recommendation, and the Court therefore reviews it for clear error. See Fed.

R. Civ. P. 72(b); Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (per curiam). Finding

no clear error, and based upon all the files, records, and proceedings in the above‐

captioned matter, IT IS HEREBY ORDERED THAT:

          1. The Report and Recommendation (ECF No. 7) is ACCEPTED; and
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         2. The Washington County Sheriff’s Department is DISMISSED.




Dated: October 16, 2020                    BY THE COURT:

                                           s/Nancy E. Brasel
                                           Nancy E. Brasel
                                           United States District Judge




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